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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                  Plaintiff,                           No. CR 14-00175 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                            ORDER GRANTING LEAVE TO
                                       COMPANY,                                            FILE
                                  14
                                                      Defendant.
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                                  17        Request for leave to file by amici Alex Cannara and Gene Nelson is GRANTED. The

                                  18   request to speak at today’s hearing is DEFERRED until the hearing itself.

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                                  20        IT IS SO ORDERED.

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                                  22   Dated: June 2, 2021.

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                                                                                              WILLIAM ALSUP
                                  25                                                          UNITED STATES DISTRICT JUDGE
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